    Case 10-93904-BHL-11         Doc 1039 Filed 02/17/12 EOD 02/17/12 15:27:45   Pg 1 of 1
                                 SO ORDERED: February 17, 2012.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge

                             UNITED STATES BANKRUPTCY COURT                 SRESVAC (rev 09/2009)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                           Case Number:
       SSN: NA               EIN: NA                     10−93904−BHL−11
    Debtor(s)                                            JOINTLY ADMINISTERED

                                             ORDER

   A(n) Order on Motion for Examination Under Fed.R.Bankr.P. 2004 was entered in error on
February 15, 2012.

   IT IS THEREFORE ORDERED that the Order on Motion for Examination Under
Fed.R.Bankr.P. 2004 is RESCINDED.
                                               ###
